     Case 15-35358               Doc 37        Filed 10/20/15 Entered 10/22/15 23:42:00                               Desc Imaged
                                              Certificate of Notice Page 1 of 8
B9F (Official Form 9F) (Chapter 11 Corporation/Partnership Case) (12/12)                                               Case Number 15−35358
                                     UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
      Notice of Chapter 11 Bankruptcy Case, Meeting of Creditors, & Deadlines
                          A chapter 11 bankruptcy case concerning the debtor(s) listed below was filed on 10/18/15.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
         Creditors −− Do not file this notice in connection with any proof of claim you submit to the court.
                                   See Reverse Side For Important Explanations
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
LB Steel, LLC
15700 Lathrop Ave
Harvey, IL 60426
Case Number: 15−35358                                                   Social Security / Individual Taxpayer ID / Employer Tax ID / Other
Office Code: 1                                                          nos:
Attorney for Debtor (name and address):
Daniel A Zazove
Perkins Coie LLP
131 S. Dearborn
Suite 1700
Chicago, IL 60603−5559
Telephone number: 312−324−8605

                                                   Meeting of Creditors:
Date: December 1, 2015                         Time: 01:30 PM
Location: 219 South Dearborn, Office of the U.S. Trustee, 8th Floor, Room 802, Chicago, IL
60604
All debtors are required to attend and bring a picture ID and proof of their Social Security
Number to the 341 meeting.
                             Deadlines to File a Proof of Claim:
                         Proof of claim must be received by the bankruptcy clerk's office by the following deadline:
                                           Notice of deadline will be sent at a later time.

                                                  Creditor with a Foreign Address:
          A creditor to whom this notice is sent at a foreign address should read the information under "Claims" on the reverse side.
                 Deadline to File a Complaint to Determine Dischargeability of Certain Debts: 2/1/16
                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.
Address of the Bankruptcy Clerk's Office:                                                             For the Court:
Eastern Division                                                         Clerk of the Bankruptcy Court:
219 S Dearborn                                                           Jeffrey P. Allsteadt
7th Floor
Chicago, IL 60604
Telephone number: 1−866−222−8029
Hours Open: Monday − Friday 8:30 AM − 4:30 PM                            Date: October 20, 2015
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                                                        EXPLANATIONS                                            B9F (Official Form 9F)(12/12)

Filing of Chapter 11   A bankruptcy case under chapter 11 of the Bankruptcy Code (title 11, United States Code) has been filed in this
Bankruptcy Case        court by or against the debtor listed on the front side, and an order for relief has been entered. Chapter 11 allows a
                       debtor to reorganize or liquidate pursuant to a plan. A plan is not effective unless confirmed by the court. You may
                       be sent a copy of the plan and a disclosure statement telling you about the plan, and you might have the opportunity
                       to vote on the plan. You will be sent notice of the date of the confirmation hearing, and you may object to
                       confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the debtor will remain in
                       possession of the debtor's property and may continue to operate any business.

Legal Advice           The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                       case.

Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code § 362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; and starting or continuing lawsuits or
                     foreclosures. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor
                     can request the court to extend or impose a stay.


Meeting of Creditors   A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor's
                       representative must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                       are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                       specified in a notice filed with the court. The court, after notice and a hearing, may order that the United States
                       trustee not convene the meeting if the debtor has filed a plan for which the debtor solicited acceptances before filing
                       the case.


Claims                 A Proof of Claim is a signed statement describing a creditor's claim. A Proof of Claim form ("Official Form B 10")
                       can be obtained at the United States Courts Web site:
                       (http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office. You
                       may look at the schedules that have been or will be filed at the bankruptcy clerk's office. If your claim is scheduled
                       and is not listed as disputed, contingent, or unliquidated, it will be allowed in the amount scheduled unless you filed
                       a Proof of Claim or you are sent further notice about the claim. Whether or not your claim is scheduled, you are
                       permitted to file a Proof of Claim. If your claim is not listed at all or if your claim is listed as disputed, contingent,
                       or unliquidated, then you must file a Proof of Claim or you might not be paid any money on your claim and may be
                       unable to vote on the plan. The court has not yet set a deadline to file a Proof of Claim. If a deadline is set, you will
                       be sent another notice. A secured creditor retains rights in its collateral regardless of whether that creditor files a
                       Proof of Claim. Filing a Proof of Claim submits the creditor to the jurisdiction of the bankruptcy court, with
                       consequences a lawyer can explain. For example, a secured creditor who files a Proof of Claim may surrender
                       important nonmonetary rights, including the right to a jury trial. Filing Deadline for a Creditor with a Foreign
                       Address: The deadlines for filing claims will be set in a later court order and will apply to all creditors unless the
                       order provides otherwise. If notice of the order setting the deadline is sent to a creditor at a foreign address, the
                       creditor may file a motion requesting the court to extend the deadline.
                       Do not include this notice with any filing you make with the court.


Discharge of Debts     Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your debt. See
                       Bankruptcy Code § 1141(d). A discharge means that you may never try to collect the debt from the debtor, except as
                       provided in the plan. If you believe that a debt owed to you is not dischargeable under Bankruptcy Code §
                       1141(d)(6)(A), you must start a lawsuit by filing a complaint in the bankruptcy clerk's office by the "Deadline to
                       File a Complaint to Determine Dischargeability of Certain Debts" listed on the front side. The bankruptcy clerk's
                       office must receive the complaint and any required filing fee by that Deadline.


Bankruptcy Clerk's     Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                 on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                       the property claimed as exempt, at the bankruptcy clerk's office.

Creditor with a        Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address        case.
                        −− Refer to Other Side for Important Deadlines and Notices −−
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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 15-35358-JSB
LB Steel, LLC                                                                           Chapter 11
         Debtor
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: ckeith                 Page 1 of 6                   Date Rcvd: Oct 20, 2015
                               Form ID: b9f                 Total Noticed: 304


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 22, 2015.
db             +LB Steel, LLC,    15700 Lathrop Ave,    Harvey, IL 60426-5118
aty            +David J. Gold,    Perkins Coie LLP,    131 S. Dearborn St., Suite 1700,     Chicago, IL 60603-5559
23826707       +A.B.I. Incorporated,    10176 20th Street,     Colfax, WI 54730-2373
23826708       +ABS,   600 Joliet Road Suite M,      Willowbrook, IL 60527-5696
23826709       +ACE Landscaping & Tree Serv.,     2700 E 95th Street,    Chicago, IL 60617-4921
23826711       +AEI Corporation,    PO Box 1945,    Oklahoma City, OK 73101-1945
23826712       +AFS Advantage, LLC,    PO Box 1986,    Shreveport, LA 71166-1986
23826728       +ASC Industries,    1406 W. 175th Street,    East Hazel Crest, IL 60429-1820
23826729        AT&T (125322327),     PO Box 5014,    Carol Stream, IL 60197-5014
23826737       +AZZ Galvanizing Services,    7700 East 12th Street,     Kansas City, MO 64126-2321
23826710       +Acuren Inspection Inc.,    8150 W. 185th Street,     Tinley Park, IL 60487-9229
23826713       +Agsco Corporation,    160 W. Hintz Road,    Wheeling, IL 60090-5755
23826714        Airgas Usa, LLC,    PO Box 676015,    Dallas, TX 75267-6015
23826715        Airgas Usa, LLC,    1055 N Meridian Rd,    Youngstown, OH 44509-1016
23826716      #+Allen Electric, LLC,    517 NW Tyler Ct,    Topeka, KS 66608-2015
23826717       +Allied Electronics, Inc.,    7151 Jack Newell Blvd S,     Fort Worth, TX 76118-7037
23826718       +Alro Steel Corporation,    Attn Randy Halsey,     777 Industrial Dr.,
                 University Park, IL 60484-4101
23826720       +American National Bank,    8990 West Dodge Road,     Omaha, NE 68114-3383
23826721        Ameripride Services,    PO Box 1010,    Bemidji, MN 56619-1010
23826722       +Amino Transport Inc.,    PO Box 54220,    Hurst, TX 76054-4220
23826723        Andrews & Beard Law Office,     3366 Lynnwood Drive,    Altoona, PA 16602-1720
23826724        Applied Industrial Technologies,     4643 West 138th Street,    Crestwood, IL 60445-1930
23826725       +Aramark Refreshment Services,     1851 Howard St. Suite F,    Elk Grove Village, IL 60007-2480
23826726       +Arcelor Mittal,    250 W US Highway 12,    Burns Harbor, IN 46304-9727
23826727       +Arrow Pin & Products,    51 East 34th Street,     South Chicago Heights, IL 60411-5501
23826732        Atlantic India Rubber Company,     1437 KY Route 1428,    Hager Hill, KY 41222
23826733       +Atlas Copco Compressors, Inc.,     2501 Landmeier Rd Suite B,    Elk Grove Village, IL 60007-2622
23826734       +Atlas Copco Cust Finance USA LLC,     34 Maple Ave,    PO Box 2028,   Pine Brook, NJ 07058-2028
23826735       +Atwood Mobile Products,    1120 N Main St,     Elkhart, IN 46514-3203
23826736       +Austin Hardware,    950 N.W. Technology Drive,     Lee Summit, MO 64086-5692
23826738       +B&H Technical Services, Inc.,     1580 E. 90th Place,    Merrillville, IN 46410-8105
23826739       +B2B Industrial Products LLC,     PO Box 3296,    Glen Ellyn, IL 60138-3296
23826747       +BNSF Railway Company,    3110 Solutions Centers,     Chicago, IL 60677-3001
23826749       +BP Business Solutions (GZ235),      PO Box 70995,    Charlotte, NC 28272-0995
23826740       +Bank of the West,    7101 College Blvd, Ste 550,     Overland Park, KS 66210-2075
23826741       +Barsom Consulting, Ltd.,    1316 Murray Avenue Suite 300,     Pittsburgh, PA 15217-1223
23826742       +Berg Engineering & Sales Co.,     3893 Industrial Ave.,    Rolling Meadows, IL 60008-1038
23826743        Berry Material Handling,    PO Box 844210,     Dallas, TX 75284-4210
23826744        Binswanger Glass,    PO Box 740209,    Atlanta, GA 30374-0209
23826745       +Blue Cross Blue Shield of IL,     Attn Cindy Bierovic,    1020 W 31st St., Ste 600,
                 Downers Grove, IL 60515-5570
23826746       +Blue Technologies, Inc.,    PO Box 31475,     Independence, OH 44131-0475
23826748       +Bossler/Brown & Associates,     1725 SW Gage, Suite 200,    Topeka, KS 66604-3385
23826750       +Bradley Coatings Group,    608 West Crawford Avenue,     Connellsville, PA 15425-2535
23826751       +Braun Mtg Company, Inc,    1350 Feenhanville Dr,     Mt Prospect, IL 60056-6021
23826752       +Buck, Patty,    7035 NE Silver Rd,    Topeka, KS 66617-3017
23826753       +Buckeye Fastener Co,    PO Box 5854,    Cleveland, OH 44193-1024
23826754       +Buckley Industries,    1850 E 53rd St North,     Wichita, KS 67219-2630
23826755        Burke Forging & Heat Treating,     18381 Sciota Street,    Corry, PA 16407-8969
23826770       +CIMCO Communications,    1901 S Meyers Rd, Suite 700,     Oakbrook Terrace, IL 60181-5211
23826787       +CS American Lifting, LLC,    21825 Doral Road,     Waukesha, WI 53186-1894
23826788       +CTC Inc.,    2220 Hwy 14 East,    Louisville, MS 39339-9172
23826756       +Calumet Lift Truck,    35 E. 168th Street,     South Holland, IL 60473-2880
23826757       +Capitol City Office Products,     PO Box 1596,    Topeka, KS 66601-1596
23826758        Caplugs,   3012 Momentum Place,     Chicago, IL 60689-5330
23826759       +Cargill Incorporated,    4303 Kennedy Ave,     East Chicago, IN 46312-2723
23826760       +Caterpillar Inc.,    100 N.E. Adams St,    Peoria, IL 61629-0002
23826761       +Caterpillar Inc.,    100 NE Adams St,    Peoria, IL 61629-0002
23826762       +Central Steel & Wire,    PO Box 5100,    Chicago, IL 60680-5100
23826763       +Chapel Steel Company,    PO Box 1000,    Spring House, PA 19477-1000
23826765        Chemical Specialties,    PO Box 27095,    Overland Park, KS 66225-7095
23826766       +Chicago Flame Hardening Co.,     5200 Railroad Avenue,    East Chicago, IN 46312-3891
23826767       +Chicago Metal Fabricators,     3724 South Rockwell St,    Chicago, IL 60632-1051
23826768        Chicago Metal Rolled Products,     6289 Eagle Way,    Chicago, IL 60678-1062
23826769        Chicago Tire,    16001 S. Drunen Road,    South Holland, IL 60473
23826771        Cincinnati Incorporated,    PO Box 44719,     Madison, WI 53744-4719
23826773       +Cinta’s Corporation -OH,    PO Box LOC 630910,     Cincinnati, OH 45263-0001
23826772        Cintas Corporation Loc 430,     PO Box 88005,    Chicago, IL 60680-1005
23826774       +City of Harvey Water Department,     PO Box 2600,    Harvey, IL 60426-8600
23826775       +Collins And Company,    1585 Beverly Court #106,     Aurora, IL 60502-8716
23826776       +Color By Design,    1035 E 30th Ave,    Hutchinson, KS 67502-4226
23826777       +Color By Design Mfg,    407 W Main,    Haven, KS 67543-4305
23826778       +Comcast Phone LLC,    Acct #00036805,    2001 York Road,    Oak Brook, IL 60523-8888
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23826780        +Commercial Vehicle Group, Inc.,     301 W Spruce St,     Monona, IA 52159-8035
23826782        +Con-Way Freight Inc.,     PO Box 982020,    N. Richland Hills, TX 76182-8020
23826781        +Conway & Morowiec,    Attn Mercedes Gallardo,     20 S Clark St, Ste 1000,
                  Chicago, IL 60603-1825
23826783        +Core Integrated Marketing,     209 Glenwood Road,     Chicago Heights, IL 60411-8217
23826785         Coyote,    PO Box 742636,    Atlanta,, GA 30374-2636
23826786        +Cricket Transport,    1905 Douglas Drive,     Portage, IN 46368-1301
23826789        +Danico Construction Inc.,     Attn Jim Sampagnaro,     29724 Ashland Ave,    Beecher, IL 60401-3408
23826790        +Daniel A. Manesis Trans. Inc.,     11225 West Rogers Street,     West Allis, WI 53227-1039
23826792        +De Lage Landen Financial Services,      1111 Old Eagle School Rd.,    Wayne, PA 19087-1453
23826791         De Lage Landen Financial Services,      PO Box 41602,    Philadelphia, PA 19101-1602
23826793        +Deco Tool Supply Company,     PO Box 3097,    Davenport, IA 52808-3097
23826794        +Dekra Certification, Inc.,     1120 Welsh Road Suite 210,     North Wales, PA 19454-3794
23826795         Diamond Vogel Paints,     PO Box 27600,    Omaha, NE 68127-0600
23826796         Direct Energy Business,     PO Box 70220,     Philadelphia, PA 19176-0220
23826797        +Don Diablo Express Inc.,     808 W. Palm Drive,    Glenwood, IL 60425-1123
23826798         Drexel Technologies,     10840 W 86th St,    Lenexa, KS 66214-1632
23826799         Dupont Denemours,    PO Box 2323,     Carol Stream, IL 60132-2323
23826800        +E&R Machine Inc,    PO Box 91,    Wamego, KS 66547-0091
23826802         East Penn Manufacturing Co.,     PO Box 784191,    Philadelphia, PA 19178-4191
23826803        +Eaton’s Controls & Power Conversion,      10955 SW Avery Street,    Tualatin, OR 97062-8570
23826804        +Elk Grove Industrial,     1300 Jarvis Avenue,    Elk Grove Village, IL 60007-2304
23826805        +Englewood Elec Div of Wesco Dist,      3550 179th St Unit 4,    Hammond, IN 46323-3066
23826806        +Environmental Specialist,     1000 Andrews Ave,    Youngstown, OH 44505-2946
23826807        +Evraz Claymont Steel,     Attn Jim Torongo,    200 E Randolph,    Chicago, IL 60601-7703
23826808        +Exova,    2090 East 15th Ave,    Gary, IN 46402-3005
23826816        +FP Mailing Solutions,     140 N. Mitchell Ct.,    Addison, IL 60101-7200
23826809        +Fabricating & Welding Corporation,      12246 South Halsted Street,     Chicago, IL 60628-6400
23826810        +Fastenal Co,    PO Box 1286,    Winona, MN 55987-7286
23826811         Fastenal Company,    333 Holeman Ave,     Steger, IL 60475
23826812        +Fed Ex,    PO Box 371461,    Pittsburgh, PA 15250-7461
23826813        +Fleetwood Industrial Supply,     1410 W. Fullerton Ave.,     Addison, IL 60101-4322
23826814        +Flow Products,    2626 W. Addison Street,     Chicago, IL 60618-5948
23826815        +Foley Equipment,    1737 SW 42nd St,     Topeka, KS 66609-1215
23826817        +Friends Business Source,     PO Box 1645,    Finlay, OH 45839-1645
23826819        +G&C Fabricating,    PO Box 125,    Masury, OH 44438-0125
23826820        +G&E Sales Corporation,     13856 South Halsted Street,     Riverdale, IL 60827-1691
23826826        +GPL Industries,    395 Armory Drive,     Thornton, IL 60476-1046
23826830         GT Midwest,    PO Box 755,    Wichita, KS 67201-0755
23826821        +Global Industrial Equipment,     PO Box 905713,    Charlotte, NC 28290-5713
23826823        +Go Blue,    4545 SW 21st Street,    Topeka, KS 66604-3561
23826824        +Goich & Goich LLC,    Attn Michael Z. Goich,     15700 Lathrop Ave.,     Harvey, IL 60426-5118
23826825        +Goich Family Trust,    Attn Michael Z. Goich,     12822 West Hadley Rd,
                  Homer Glen, IL 60491-7640
23826827         Grainger,    PO Box 419261-Dept 811122662,     Kansas City, MO 64141-6267
23826829        +Griffith Rubber Mills,     PO Box 10066,    Portland, OR 97296-0066
23826831        +Haas Factory Outlet,     2501 Landmeier Rd Suite B,     Elk Grove Village, IL 60007-2622
23826832        +Haas Factory Outlet Midwest (HFO Chicago),      555 Busse Road,    Elk Grove Village, IL 60007-2116
23826833        +Handyman Supply, Inc.,     455 Elm Rd,    Warren, OH 44483-5007
23826834        +Harbour Contractors, Inc.,     23830 W. Main St.,     Plainfield, IL 60544-2120
23826835        +Harsco Metals & Minerals,     300 Seven Fields, Blvd., Suite 300,     Seven Fields, PA 16046-4356
23826836         Hasler,    PO Box 30193,    Tampa, FL 33630-3193
23826837        +Hason Rivet & Supply,     13241 Weidner St,    Pacoima, CA 91331-2344
23826838         Helsel-Jepperson,    103 N Halsted Street / PO Box 310,      Chicago Heights, IL 60412-0310
23826839        +Hobby Won Trucking Inc.,     302 N. Van Renesselaer Street,     Rensselaer, IN 47978-2631
23826840        +Home Depot Commercial Credit,     PO Box 790420,    St Louis, MO 63179-0420
23826841         Homewood Disposal Service Inc.,     1501 W. 175th St.,     Homewood, IL 60430-4608
23826842        +Hyman’s Automotive Paint Center,      8600 S. Commercial Avenue,    Chicago, IL 60617-2535
23826843        +II-VI Incorporated,    PO Box 640675P,     Pittsburgh, PA 15264
23826855        +ITT Torque System,    6 Interprise Road,     Billerica, MA 01821-5735
23826847        +Illinois Security Cameras, Inc.,      7112 W. 82nd St,    Burbank, IL 60459-1610
23826848        +Indiana Pallet Company,     PO Box 398,    East Chicago, IN 46312-0398
23826849        +Industrial Chrome, Inc,     834 N Madison St,    Topeka, KS 66608-1128
23826850        +Infra-Metals,    1601 Broadway Street,     Marseilles, IL 61341-9326
23826851        +Ingalls Occupational Medicine,     16246 Prince Drive,     South Holland, IL 60473-3233
23826853        +International Paint, LLC,     6001 Antoine Drive,     Houston, TX 77091-3599
23826854        +Interstate Batteries,     PO Box 19302,    Topeka, KS 66619-0302
23826861        +JLG Consulting LLC,    872 S Milwaukee Avenue, #176,      Libertyville, IL 60048-3227
23826862        +JM Industries, LLC,    330 Joe Orr Road Ste C,     Chicago Heights, IL 60411-1290
23826856         Janco Steel,    Attn Terrie Demelo,     925 Arvin Ave,    Stoney Creek,    Ontario Canada L8E5N9
23826858        +Jdak/Lippert Components,     88704 Expedite Way,    Chicago, IL 60695-0001
23826859        +Jeff Foster Trucking,     PO Box 367,    Superior, WI 54880-0367
23826860         Jet Permit Service,    PO Box 349,     Hales Corners, WI 53130-0349
23826863        +Joseph T. Ryerson & Son, Inc.,     Attn Kevin Rush,     1050 Warrenville Rd,    Lisle, IL 60532-1360
23826868       ++KANSAS DEPARTMENT OF LABOR,     ATTN LEGAL SERVICES,     401 SW TOPEKA BLVD,    TOPEKA KS 66603-3182
                (address filed with court: Kansas Department of Labor,        Dept. of Employment Security,
                  401 SW Topeka Blvd.,     Topeka, KS 66603)
23826865        +Kam Wiping Material Co,     3930 N. Bridgeport Circle,     Wichita, KS 67219-3322
23826866        +Kamm Insurance Group,     Attn Jennifer Brooks,    300 S Wacker Dr., Ste 1000,
                  Chicago, IL 60606-6665
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23826867         Kansas Automotive, Inc,    PO Box 1219,    Topeka, KS 66601-1219
23826870         Kansas Turnpike Authority,    PO Box 780007,     Wichita, KS 67278-0007
23826871         Kaplan Trucking Co.,    PO Box 92618,    Cleveland, OH 44190-2618
23826873        +Kissling Electrotec,    320 Business Pkwy, Ste A,     Greer, SC 29651-7114
23826874        +Klinger’s Paint Company,    333 5th Avenue S.E. Box 1945,     Cedar Rapids, IA 52401-1801
23826875        +Kloeckner Metals / Temtco,    4940 W. Bloomingdale Avenue,     Chicago, IL 60639-4562
23826876        +Kress Corporation,    227 Illinois St, PO Box 229,     Brimfield, IL 61517-0229
23826877        +Kriz-Davis Co,    PO Box 310353,    Des Moines, IA 50331-0353
23826878        +L & S Freight System Inc.,    19605 Wolf Road,     Mokena,, IL 60448-1305
23826882        +LB Acquisitions V, LLC,    15700 Lathrop Ave.,     Harvey, IL 60426-5118
23826883        +LB Industries, Inc.,    Attn Robert J. Krems,     8770 Railroad Dr,    PO Box 15430,
                  Covington, KY 41015-0430
23826879        +Ladd Industries,    4849 Hempstead Station Dr,     Kettering, OH 45429-5156
23826880        +Landstar Inway, Inc.,    12793 Collections Ctr Drive,     Chicago, IL 60693-0127
23826881        +Lansing Cleaners,    18210 Torrence Ave,    Lansing, IL 60438-2730
23826884        +Leeco Steel Products, Inc,    1011 Warrenville Road, Suite 500,     Lisle, IL 60532-0933
23826885        +Leep’s Supply Co., Inc,    8001 Tyler Street,     Merrillville, IN 46410-5345
23826886        +Lesco,   5235 W 65th St. Unit B,     Bedford Park, IL 60638-5700
23826891        +MB Financial Bank, N.A.,    Attn Mary C. Alberts,     6111 N River Road,    Rosemont, IL 60018-5111
23826887         Machinery Welder Corporation,     2225 S. 116th Street,    West Allis, WI 53227-1007
23826888         Manitowoc Transport,    4315 County Road Cr,     Manitowoc, WI 54220-9263
23826890        +Mayco Industries,    18 West Oxmoor Road,    Birmingham, AL 35209-6410
23826893         McMaster-Carr Supply Co.,    PO Box 7690,    Chicago, IL 60680-7690
23826894        +McNichols Company,    PO Box 101211,    Atlanta, GA 30392-1211
23826895        +McShane’s Business Products & Solu,     1844 45th Street,     Munster, IN 46321-3916
23826892        +Mckey Perforating Co, Inc,    PO Box 4174,    Wyoming, PA 18644-0174
23826896        +Metco Engineering,    19231 Blackhawk Parkway,     Mokena, IL 60448-8987
23826897        +Meto-Grafics, Inc.,    169 S. Northwest Highway,     Cary, IL 60013-2940
23826898        +Metro Machinery,    2701 Nicholas Road,    Franksville, WI 53126-9796
23826899        +Michael and Mara Goich,    12822 W. Hadley Rd.,     Homer Glen, IL 60491-7640
23826900         Midwest Metal Products,    PO Box 19287,    Michigan City, IN 46361
23826901         Midwest Wholesale Hardware,    PO Box 34221,     Kansas City, MO 64120-4221
23826902        +Midwestern Metals, Inc,    PO Box 8207,    Topeka, KS 66608-0207
23826903        +Milleredge Inc.,    300 North Jennersville Rd,     West Grove, PA 19390-9155
23826904        +Monarch Auto Supply,    1112 Halsted Street,     Chicago Heights, IL 60411-2790
23826905        +Motion Industries,    100 Halsted Street,    Chicago Heights, IL 60411-1256
23826906        +Motion Industries-Topeka (KS08),     3526 SE 21st St, Unit A,    Topeka, KS 66607-2371
23826908        +Muir Graphics,    908 West Main,    Peoria, IL 61606-1255
23826909        +Murphy Pallet Brokerage,    3436 SE 37th,    Topeka, KS 66605-3129
23826910        +N & M Transfer Co Inc,    630 Muttart Road,    Neenah, WI 54956-9764
23826915         NLMK Indiana,    650 Boundary Road,    Portage, IN 46368
23826916        +NMHG Financial Services,    10 Riverview Drive,     Danbury, CT 06810-6268
23826912        +National Machine/Metro Leasing,     PO Box 2139,    Omaha, NE 68103-2139
23826913        +Neuobjects Incorporated,    5252 Fairview Avenue,     Downers Grove, IL 60515-5280
23826914        +New Era Machine Inc,    249 N. Water Ave,    Sharon, PA 16146-1352
23826917        +Norfolk Iron & Metal,    Attn Jordan Buettner,     3001 N Victory Rd,    Norfolk, NE 68701-0833
23826918        +Nucor Steel - Hertford,    Attn Amy Poston,    1505 River Rd,    Cofield, NC 27922-9502
23826920        +OH Department of Administrative Svcs,     Dept of Employment Security,     4200 Surface Rd.,
                  Columbus, OH 43228-1313
23826921         OHE Industries,    4480 8th Avenue,    Marion, IA 52302-3823
23826919        +Occupational Assessment Center,     2101 SW 36th St,    Topeka, KS 66611-2553
23826922        +Ohio Department of Taxation,     Sales/Use/Commercial,    4485 Northland Ridge Blvd.,
                  Columbus, OH 43229-5404
23826923        +Olympic Steel,    Attn Cathy Schey,    1901 Mitchell Blvd,    Schaumburg, IL 60193-4538
23826924         Orange Commercial Credit,    PO Box 11099,    Olympia, WA 98508-1099
23826925        +Orkin Exterminating Company Inc,     4201 W 36th Street,    Chicago, IL 60632-3800
23826926        +PA Department of Revenue,    1 Revenue Place,     Harrisburg, PA 17129-0001
23826935        +PPG Industries Inc.,    10800 S. 13th Street,     Oak Creek, WI 53154-6800
23826939        +PSC Metals Inc.,    Attn Steve Minnier,    4250 E 68th St,    Cleveland, OH 44105-5733
23826927        +Patten Cat,    635 West Lake St.,    Elmhurst, IL 60126-1465
23826928        +Pendergast Service Group, LLC,     3136 Terrace High Drive,    Racine, WI 53406-1519
23826929        +Phoenix Metals Company,    PO Box 932589,    Atlanta, GA 31193-2589
23826930        +Pitts Little,    2711 Alton Road,    Birmingham, AL 35210-4392
23826931        +Plante & Moran, PLLC,    2155 Point Blvd., Suite 200,     Elgin, IL 60123-8800
23826932        +Platt & Company Transporation,     7440 SW Morrill Rd,    Wakarusa, KS 66546-9650
23826933        +Polsinelli Shugart, PC,    PO Box 878681,    Kansas City, MO 64187-8681
23826934        +Power Tool & Supply Co.,    3699 LE Harps Rd,     Youngstown, OH 44515-1437
23826936        +Praxair Distribution Inc,    Headquarters,    39 Old Ridgebury Rd,     Danbury, CT 06810-5103
23826937        +Propane Central,    231 SE 53rd St, Suite 1A,     Topeka, KS 66609-1020
23826938        +Protection One,    PO Box 219044,    Kansas City, MO 64121-9044
23826941         R & R Express Logistics,    PO Box 912394,    Denver, CO 80291-2394
23826947        +R-K-Campf Transport,    465 Newgarden Avenue,     Salem, OH 44460-3042
23826942        +R.S. Hughes Co., Inc.,    307 E. North Avenue,     Carol Stream, IL 60188-2023
23826948        +RMI Golf Carts,    19882 W 156th St,    Olathe, KS 66062-3500
23826943        +Rail Exchange, Inc,    1150 State St. PO Box 340,     Chicago Heights, IL 60411-3700
23826944        +Redneck Trailer Supplies,    2100 N West By-Pass,     Springfield, MO 65803-2208
23826945        +Rexnord,    2400 Curtiss Street,    Downers Grove, IL 60515-4037
23826946         Richards-Wilcox,    35242 Eagle Way,    Chicago, IL 60678-1352
23826949         Russel Metals,    Attn Sam Ledonne,    185 Barton Street East,    Stoney Creek,
                  Ontario Canada L8E2K3
           Case 15-35358     Doc 37     Filed 10/20/15 Entered 10/22/15 23:42:00              Desc Imaged
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                               Form ID: b9f                  Total Noticed: 304


23826950         Ryerson, Inc,    PO Box 731036,    Dallas, TX 75373-1036
23826951        +S & J Industrial Supply Corp.,     16060 Suntone Drive,     South Holland, IL 60473-1240
23826967        +S-M-A-R-T Workers Union Local #2,     Attn Gregory Chastain,     2902 Blue Ridge Blvd.,
                  Kansas City, MO 64129-1454
23826970        +SSAB,   Attn Philip Caldwell,     801 Warrenville Rd,     Lisle, IL 60532-1396
23826977         SW Anderson Company,    Business Park Drive,     Ellisville, MO 63021
23826953        +Sawing & Shearing Services Inc,     13500 S. Western Avenue,     Blue Island, IL 60406-2982
23826955        +Selland Livestock, Inc.,     39620 SD Hwy 34,    Woonsocket, SD 57385-6631
23826956        +Shannahan Crane & Hoist, Inc,     PO Box 790379,    St Louis, MO 63179-0379
23826957        +Sharp Trucking Inc.,    PO Box 186,    Cortland, OH 44410-0186
23826958        +Sharpening Specialist,    2124 S Edward St,     Wichita, KS 67213-1805
23826960         Sheboygan Paint Company,     PO Box 417,    Sheboygan, WI 53082-0417
23826961         Sheet Metal Workers Local,     PO Box 300378,    Kansas City, MO 64130-0378
23826962         Sherwin-Williams,    7930 Nevada Street,     Hammond, IN 46323-3092
23826963        +Shopmen’s Local Union 473,     Int’l Ass’n Bridge Iron Workers,     1819 Beach Street,
                  Broadview, IL 60155-2862
23826964        +Sigmatek,   1001 Industrial Road,     Augusta, KS 67010-9500
23826965        +Signs One, Inc (dba Express Label),       5318 N Port Washington Road,    Milwaukee, WI 53217-4913
23826966        +Sluiter Auto Electric Inc,     15 West 168th Street,     South Holland, IL 60473-2838
23826968        +Sommers Sales & Service, Inc,     924 NW Vesper,    Blue Springs, MO 64015-3736
23826969        +Spray Equipment & Service,     PO Box 872758,    Kansas City, MO 64187-2758
23826971        +Stainless Shapes Inc.,    2490 Bushwood Drive, Suite G,      Elgin, IL 60124-7898
23826972        +Standard Rubber Products,     120 Seegers Avenue,    Elk Grove Village, IL 60007-1650
23826973         Steel Canada Recycling Ltd.,     Attn Shafiq Rajwany,     355 Traders Blvd East,    Mississauga,
                  Ontario Canada L4Z2E5
23826974        +Steel Mfg & Warehouse Co,     1700 W 25th St,    Kansas City, MO 64108-2243
23826975        +Steiner Electric Company,     1250 Touhy Avenue,    Elk Grove Village, IL 60007-4985
23826976        +Storm Power Components,     240 Industrial Park Lane,     Decatur, TN 37322-7844
23826978        +Swift Saw and Tool Supply Co., Inc,      1200 West 171st Street,    Hazel Crest, IL 60429-1905
23826979        +T&D Metal Products,    602 E. Walnut St,     Watseka, IL 60970-1459
23826981        +Temtco Steel (Klockner & Co),     4940 W. Bloomingdale Avenue,     Chicago, IL 60639-4562
23826982        +Tessendorf Welding & Machine,     128 SW Vanburen,     Topeka, KS 66603-3318
23826985         Thermo Electron North America,     PO Box 742775,    Atlanta, GA 30374-2775
23826986        +ThyssenKrupp Materials NA,     Attn Ronald J. Vilag,     22355 W 11 Mile Rd,
                  Southfield, MI 48033-4735
23826987        +Timber Creek Resources,     5059 North 119th St,    Milwaukee, WI 53225-3607
23826988        +Topeka Electric Motor,    605 SW Lane Street,     Topeka, KS 66606-1526
23826989        +Trumbull County Auditor,     Real Estate Tax Div.,     160 High St., NW,   Warren, OH 44481-1097
23826990         Tubular Steel,    PO Box 52,    St. Louis, MO 63150-0052
23826991        +Tulsa Chain.Com, LLC,    12820 S Memorial Dr #126,      Bixby, OK 74008-2585
23826992        +U.S. Autoforce,    425 Better Way,    Appleton, WI 54915-6192
23826993        +U.S. Steel Div of USX Corp.,     Attn Robert T. Lewis,     600 Grant St, #450,
                  Pittsburgh, PA 15219-2805
23826995         Uline Inc,    PO Box 88741,    Chicago, IL 60680-1741
23826996         United Parcel Service,    PO Box 7247-0244,     Philadelphia, PA 19170-0001
23826998        +Valente Trucking Inc.,    12935 S. Throop Street,      Calumet Park, IL 60827-6423
23826999         Valspar Corp,    PO Box 1461,    Minneapolis, MN 55440-1461
23827000        +Verizon Wireless (685309425-00002),       PO Box 4002,    Acworth, GA 30101-9003
23827001        +Voss Equipment Inc.,    15241 S. Commercial Avenue,      Harvey, IL 60426-2396
23827002        +Walsh Construction,    Attn Timothy Gerken,     929 W Adams St.,    Chicago, IL 60607-3021
23827003        +Ward’s Auto Part, Inc,    605 Pine Ave SE,     Warren, OH 44483-6545
23827004        +Warehouse Direct,    2001 S. Mount Prospect Road,      Des Plaines, IL 60018-1808
23827005        +Welding Industrial Supply,     Attn Rick Roschek,    2200 N Western Ave,     Chicago, IL 60647-3123
23827006         Wheelabrator Group Inc,     1606 Executive Drive,    Lagrange, GA 30240-5746
23827007         Wilson Tool International,     PO Box 70870, CM #9676,     St Paul, MN 55170-9676
23827008        +Wisconsin Precision Casting Corp.,     300 Interchange North,     Lake Geneva, WI 53147-8916
23827009        +Yamazen Inc.,    735 E. Remington Rd.,     Schaumburg, IL 60173-4574
23827010        +ZEP Manufacturing Co,    6777 Engle Rd, Suite A,     Middleburg Heights, OH 44130-7953

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: dzazove@perkinscoie.com Oct 21 2015 01:41:35       Daniel A Zazove,
                 Perkins Coie LLP,    131 S. Dearborn,   Suite 1700,    Chicago, IL 60603-5559
23826730       +EDI: ATTWIREBK.COM Oct 21 2015 01:14:00      AT&T,    440-893-0680-6646,   PO Box 8100,
                 Aurora, IL 60507-8100
23826731        EDI: CINGMIDLAND.COM Oct 21 2015 01:13:00       AT&T Mobility,   PO Box 6463,
                 Carol Stream, IL 60197-6463
23826719        EDI: AMEREXPR.COM Oct 21 2015 01:13:00      American Express,    PO Box 360001,
                 Ft. Lauderdale, FL 33336-0001
23826784        E-mail/Text: CCICollectionsGlobalForms@cox.com Oct 21 2015 01:45:16       COX Communications,
                 PO Box 248871,    Oklahoma City, OK 73124-8871
23826764       +E-mail/Text: dianne.ranieri@chemetall.com Oct 21 2015 01:42:41       Chemetall,
                 675 Central Avenue,    New Providence, NJ 07974-1560
23826779       +E-mail/Text: danielchavez@ccckc.com Oct 21 2015 01:43:49       Commercial Capital Co., LLC,
                 8215 Melrose Dr Suite 100,    Lenexa, KS 66214-1617
23826818        E-mail/Text: bankruptcynotification@frontiercorp.com Oct 21 2015 01:46:08        Frontier,
                 PO Box 20550,   Rochester, NY 14602-0550
23826828        E-mail/Text: scd_bankruptcynotices@grainger.com Oct 21 2015 01:43:34       Grainger,
                 6001 W. 115th St,    Alsip, IL 60803-5152
          Case 15-35358            Doc 37       Filed 10/20/15 Entered 10/22/15 23:42:00                         Desc Imaged
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                                      Form ID: b9f                       Total Noticed: 304


Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center
(continued)
23826845        E-mail/Text: rev.bankruptcy@illinois.gov Oct 21 2015 01:43:21
                 Illinois Department of Revenue,    Sale/Use/Occupation Tax,    101 W. Jefferson St.,
                 Springfield, IL 62702
23826844        E-mail/Text: rev.bankruptcy@illinois.gov Oct 21 2015 01:43:21
                 Illinois Department of Revenue,    Bankruptcy Section,    PO Box 64338,   Chicago, IL 60664-0338
23826846       +E-mail/Text: des.claimantbankruptcy@illinois.gov Oct 21 2015 01:45:38
                 Illinois Dept of Employment Security,    Benefit Payment Control Div.,    PO Box 4385,
                 Chicago, IL 60680-4385
23826852        EDI: IRS.COM Oct 21 2015 01:13:00      Internal Revenue Service,
                 Centralized Insolvency Operations,    PO Box 7346,    Philadelphia, PA 19101-7346
23826864       +EDI: CHASE.COM Oct 21 2015 01:13:00      JPMorgan Chase Bank, NA,    Mail Code IL1-0199,
                 300 S Riverside Plaza,    Chicago, IL 60670-0001
23826857       +E-mail/Text: tfiorina@jarotrans.com Oct 21 2015 01:43:07       Jaro Transportation Service,
                 975 Post Road N.W.,    Warren, OH 44483-2083
23826869        E-mail/Text: KSBANKRUPTCY@KDOR.STATE.KS.US Oct 21 2015 01:46:14
                 Kansas Department of Revenue,    Sale and Use Tax,    915 SW Harrison, 1st Fl.,
                 Topeka, KS 66612-1588
23826872        Fax: 773-247-7969 Oct 21 2015 01:47:51      Keller-Heartt,    4411 S. Tripp Ave.,
                 Chicago, IL 60632-4320
23826907       +E-mail/Text: creditdept3rdpartyBKR@mscdirect.com Oct 21 2015 01:42:07       MSC Industrial Supply,
                 75 Maxess Road,   Melville, NY 11747-3151
23826889       +E-mail/Text: jeccleston@mathesongas.com Oct 21 2015 01:44:49       Matheson Tri-Gas, Inc,
                 PO Box 123028, Dept 3028,    Dallas, TX 75312-3028
23826911       +E-mail/Text: kathichip@netlease.com Oct 21 2015 01:42:50
                 National Machine Tool Financial Corp.,    80 Gordon Street,    Elk Grove Village, IL 60007-1119
23826940        E-mail/Text: dschier@jacobusenergy.com Oct 21 2015 01:42:38       Quick Fuel Fleet Services,
                 Box 88249,   Milwaukee, WI 53288-0249
23826952        E-mail/Text: bankruptcy@safety-kleen.com Oct 21 2015 01:42:32       Safety-Kleen,    PO Box 650509,
                 Dallas, TX 75265-0509
23826954       +E-mail/Text: bankruptcynoticeschr@sec.gov Oct 21 2015 01:43:16
                 Securities and Exchange Commission,    Regional Office-Bankruptcy Notices,
                 175 W. Jackson Blvd., Ste 900,    Chicago, IL 60604-2815
23826959       +E-mail/Text: refuse@snco.us Oct 21 2015 01:42:34       Shawnee County Refuse Dept,
                 1515 NW Saline, Suite 150,    Topeka, KS 66618-2868
23826983        E-mail/Text: pacer@cpa.state.tx.us Oct 21 2015 01:44:48
                 Texas Comptroller of Public Accounts,    Franchise Tax Dept.,    111 E. 17th St.,
                 Austin, TX 78774
23826980       +Fax: 6304061456 Oct 21 2015 01:47:51      Tee Jay Service Company, Inc.,    PO Box 369,
                 Batavia, IL 60510-0369
23826984       +E-mail/Text: AR@BESL.COM Oct 21 2015 01:46:08       The Besl Tranfer Company,    5700 Este Avenue,
                 Cincinnati, OH 45232-1435
23826994       +E-mail/Text: ulinecollections@uline.com Oct 21 2015 01:44:32       Uline,
                 2200 S. Lakeside Drive,    Waukegan, IL 60085-8311
                                                                                              TOTAL: 28

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
23826822*        +Global Industrial Equipment,    PO Box 905713,   Charlotte, NC 28290-5713
23826801       ##+Earle M Jorgensen,    1800 Universal Ave,   Kansas City, MO 64120-2169
23826997       ##+United Steel Workers,    950 Youngstown Warren Rd.,   Suite A,   Niles, OH 44446-4626
                                                                                               TOTALS: 0, * 1, ## 2

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.

Addresses marked ’##’ were identified by the USPS National Change of Address system as undeliverable.                             Notices
will no longer be delivered by the USPS to these addresses; therefore, they have been bypassed. The
debtor’s attorney or pro se debtor was advised that the specified notice was undeliverable.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 22, 2015                                            Signature: /s/Joseph Speetjens
        Case 15-35358       Doc 37     Filed 10/20/15 Entered 10/22/15 23:42:00            Desc Imaged
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                              Form ID: b9f                 Total Noticed: 304

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                              CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 20, 2015 at the address(es) listed below:
              Barry A Chatz   on behalf of Creditor    MB Financial Bank, N.A. bachatz@arnstein.com,
               jbmedziak@arnstein.com
              Daniel A Zazove    on behalf of Debtor   LB Steel, LLC docketchi@perkinscoie.com
              David A. Golin    on behalf of Creditor    MB Financial Bank, N.A. dagolin@arnstein.com,
               mgonzalez@arnstein.com
              Kevin H Morse   on behalf of Creditor    MB Financial Bank, N.A. khmorse@arnstein.com
              Michael K Desmond    on behalf of Creditor    Walsh Construction Company mdesmond@fslegal.com,
               dorisbay@fslegal.com
              Patrick S Layng    USTPRegion11.ES.ECF@usdoj.gov
              William Cross     on behalf of Creditor    Walsh Construction Company wcross@fslegal.com
                                                                                              TOTAL: 7
